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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 RICHARD KADREY, et al.,                           Case No. 23-cv-03417-VC
                Plaintiffs,
                                                   ORDER OF REFERENCE TO
         v.                                        MAGISTRATE JUDGE HIXSON FOR
                                                   DISCOVERY
 META PLATFORMS, INC.,
                Defendant.

       Pursuant to Civil Local Rule 72-1, discovery disputes and all further discovery in this

case are referred

               [ ] for random assignment to a United States Magistrate Judge.

               [X] to United States Magistrate Judge Thomas S. Hixson.

       The Magistrate Judge to whom the matter is assigned will advise the parties of how that

Judge intends to proceed. The Magistrate Judge may issue a ruling, order more formal briefing,

or set a telephone conference or a hearing. After a Magistrate Judge has been assigned, all
further discovery matters shall be filed pursuant to that Judge's procedures and standing orders.

       IT IS SO ORDERED.

Dated: November 20, 2023

                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
